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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF MICHIGAN
                                        SOUTHERN DIVISION


Cynthia Applebaum, Warren Black, Anita
Matlock, Patrick Ridgeway, and William Sly,
individually and on behalf of all others
similarly situated,
                                                        Case No. 2:14‐cv‐13005‐AC‐MKM
                Plaintiffs,                             Hon. Avern Cohn
vs.


MGM Grand Detroit, LLC.,

                Defendant.
_____________________________________________________________________________________________/


                      PRELIMINARY ORDER APPROVING SETTLEMENT

        The parties have agreed to a settlement. It appears to the Court that the settlement

is the result of arms‐length negotiations between the parties after extensive litigation.

        After reviewing the terms of the Settlement Agreement and controlling legal

authority, the Court finds that the settlement is reasonable and adequate.

        IT IS THEREBY ORDERED that Settlement is approved;

        IT IS FURTHER ORDERED that the Joint Motion in Support of Approval of Settlement

of Collective Action Under the FLSA, Certifying The Collective For Purposes Of Settlement,

and Directing Notice to The Collective, including all exhibits contained therein, is approved

by this Court as an adequate and reasonable resolution of this action;

        IT IS FURTHER ORDERED that within 10 days, Defendant will provide the Claims

Administrator with the contact information for all Class Members so that the appropriate
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notices and exclusion forms can be provided to the class as outlined in paragraph 12 of the

Joint Stipulation of Settlement and Release;

       IT IS FURTHER ORDERED that Plaintiffs’ plan of allocation seeking individual

enhancement awards from the settlement fund is approved;

       IT IS FURTHER ORDERED that Plaintiffs’ request for payment to the Third Party

Administrator, CPT Group, in the amount of $7,500.00 is granted.

       IT IS FURTHER ORDERED that Plaintiffs’ request for attorney fees in the amount of

$150,000.00 and costs in the amount of $12,500.00 will be subject to a separate order.

       SO ORDERED.



                                           S/Avern Cohn
                                           Hon. Avern Cohn
                                           United States District Court Judge
Dated: May 4, 2016




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